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                           Exhibit 11
   to Declaration of Mary Elizabeth
    Dillon in Support of Motion for
          Summary Judgment
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